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                                         September 7, 2021
Via ECF

The Honorable Sarah Netburn
Thurgood Marshall United States Courthouse
40 Foley Square, Room 430
New York, NY 10007

       Re:     In re Terrorist Attacks on September 11, 2001, 03-md-1570 (GBD) (SN)

Dear Judge Netburn:

       I write on behalf of Defendant Kingdom of Saudi Arabia (“Saudi Arabia”) in response to
the September 3, 2021 letter from the Plaintiffs’ Executive Committees (“Plaintiffs”) forwarding
President Biden’s September 4, 2021 Executive Order. See ECF No. 7091.

        That Executive Order directs the declassification review of certain documents within 180
days, but does not order the production of any specific documents. Nothing in the Executive
Order presents good cause for extending the current September 15, 2021 deadline for Plaintiffs’
expert reports, much less for staying that deadline indefinitely as Plaintiffs request.

        In March 2018, Judge Daniels directed “limited and targeted jurisdictional discovery” on
a single factual inquiry: “whether and to what extent Thumairy, Bayoumi, and their agents took
actions in 2000, at the direction of more senior Saudi officials, to provide assistance to Hazmi,
Mihdhar, and other 9/11 hijackers.” ECF No. 3946, at 23. He required discovery to “proceed
promptly and expeditiously,” recognizing that sovereign immunity under the Foreign Sovereign
Immunities Act of 1976 is immunity from suit, not just liability. Id. at 6, 41. He made clear that,
to “‘preserve[ ] the effectiveness of . . . immunity,’ ” the Court should not put Saudi Arabia “‘to
the expense of defending what may be a protracted lawsuit without an opportunity to obtain an
authoritative determination of its amenability to suit at the earliest possible opportunity.’” Id. at 6
(quoting Robinson v. Gov’t of Malaysia, 269 F.3d 133, 142 (2d Cir. 2001)).

       Jurisdictional discovery has nonetheless been ongoing for 3.5 years. Recognizing that the
documentary and testimonial evidence has established their claims to be meritless, Plaintiffs
have sought extension after extension to avoid a final disposition. When the voluminous
documents produced by the FBI did not help, Plaintiffs launched a very public campaign to
pressure the Executive Branch to declassify additional documents by threatening to exclude
President Biden from 9/11 memorial events.
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